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                                               Digitally signed by Hon. Beryl A.
                                               Howell, Chief United States District
                                               Court Judge,
                                               DN: cn=Hon. Beryl A. Howell, Chief
                                               United States District Court Judge,,
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                                               of Columbia, ou,
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